                      Case 1:21-mj-00345-RMM Document 1 Filed 03/30/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District of &ROXPELD

                  United States of America                          )
                             v.                                     )
               Christian David Mandeville,                          )      Case No.
             DOB: xx/xx/xxxx; PDID: xxx-xxx                         )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     March 30, 2021              in the county of                               in the
                         LQWKH'LVWULFWRI      &ROXPELD , the defendant(s) violated:
             Code Section                                                     Offense Description

             18 USC 112(a) - Assault on a Foreign Official
             18 USC 112(a) - Assault on a Foreign Official
             18 USC 111(a)(1) - Assaulting, Resisting, or Impeding Certain Officers
             22 DC Code 3302(a)(1) - Unlawful Entry of Private Property



         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                              Complainant’s signature

                                                                                              Jacob Pina, Officer
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                                              2021.03.30
Date:             03/30/2021
                                                                                                           13:17:47 -04'00'
                                                                                                      Judge’s signature

City and state:                         :DVKLQJWRQ'&                         Robin M. Meriweather, U.S. Magistrate Judge
                                                                                               Printed name and title
